      Case 3:08-cr-00061-LC-EMT         Document 535        Filed 07/23/14      Page 1 of 1

                                                                                         Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                 Case Nos.      3:08cr61/LAC/EMT
                                                                   3:14cv269/LAC/EMT
RODRICK SLACK
___________________________________/
                                           ORDER
       This cause comes on for consideration upon the chief magistrate judge’s Report and
Recommendation dated June16, 2014 (doc. 532). Defendant has been furnished a copy of the Report
and Recommendation and has been afforded an opportunity to file objections pursuant to Title 28,
United States Code, Section 636(b)(1). No objections have been filed.
       Having considered the Report and Recommendation, I have determined that the Report and
Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.      The magistrate judge’s Report and Recommendation is adopted and incorporated by
reference in this order.
       2.      The motion to vacate, set aside, or correct sentence (doc. 531) is summarily DENIED
and DISMISSED as untimely.
       3.      A certificate of appealability is DENIED.
       DONE AND ORDERED this 23rd day of July, 2014.




                                             s /L.A. Collier
                                             LACEY A. COLLIER
                                             SENIOR UNITED STATES DISTRICT JUDGE
